                                         Case:07-02752-jrh                                    Doc #:10-2 Filed: 05/17/2007                                           Page 1 of 56
Official Form 1 (4/07) Thomson West, Rochester, NY
                                                              United States Bankruptcy Court                                                                                                   Voluntary Petition
                                                           WESTERN DISTRICT OF MICHIGAN
 Name of Debtor             (if individual, enter Last, First, Middle):                                                  Name of Joint Debtor              (Spouse)(Last, First, Middle):


 McGill, Melvin Ray
 All Other Names used by the Debtor in the last 8 years                                                                  All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                             (include married, maiden, and trade names):
 dba Gilmacs Accounting Payroll Taxes


 Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No.                                                        Last four digits of Soc. Sec./Compete EIN or other Tax I.D. No.
 (if more than one, state all):   4728                                                                                   (if more than one, state all):
 Street Address of Debtor                  (No. & Street, City, and State):                                              Street Address of Joint Debtor                  (No. & Street, City, and State):
 703 Alger Street SE
 Grand Rapids MI
                                                                                                ZIPCODE                                                                                                           ZIPCODE
                                                                                                49507
 County of Residence or of the                                                                                           County of Residence or of the
 Principal Place of Business:                    Kent                                                                    Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                          Mailing Address of Joint Debtor                    (if different from street address):

 SAME
                                                                                                ZIPCODE                                                                                                           ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                   ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                                  Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                       the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                    Chapter 7                                         Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                     Chapter 9                                          of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                                Chapter 11
     Corporation (includes LLC and LLP)                                                                                           Chapter 12                                        Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                  of a Foreign Nonmain Proceeding
     Partnership                                                                                                                  Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                                 Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of                                                                                 Debts are primarily consumer debts, defined                                  Debts are primarily
                                                                          Clearing Bank
     entity below                                                                                                               in 11 U.S.C. § 101(8) as "incurred by an                                     business debts.
                                                                          Other                                                 individual primarily for a personal, family,
                                                                                                                                or household purpose"
                                                                             Tax-Exempt Entity
                                                                                 (Check box, if applicable.)                                              Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization            Check one box:
                                                                          under Title 26 of the United States               Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee           (Check one box)                                                   Check if:
     Full Filing Fee attached                                                                                              Debtor s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                    to insiders or affiliates) are less than $2,190,000.
    signed application for the court s consideration certifying that the debtor is unable
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                               Check all applicable boxes:
                                                                                                                             A plan is being filed with this petition
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                                 Acceptances of the plan were solicited prepetition from one or more
                                                                                                                             classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                  THIS SPACE IS FOR COURT USE ONLY

      Debtor estimates that funds will be available for distribution to unsecured creditors.

      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
      distribution to unsecured creditors.

 Estimated Number of                  1-         50-        100-          200-       1,000-       5,001-       10,001-       25,001        50,001-        OVER
 Creditors                            49         99         199           999        5,000       10,000        25,000        50,000        100,000        100,000



 Estimated              $0 to                        $10,000 to                         $100,001 to                       $1 million to                         Over
                       $10,000                        $100,000                           $1 million                       $100 million                       $100 million
 Assets

 Estimated              $0 to                        $50,000 to                         $100,001 to                       $1 million to                       More than
 Liabilities           $50,000                        $100,000                           $1 million                       $100 million                       $100 million
                                Case:07-02752-jrh                      Doc #:10-2 Filed: 05/17/2007                                          Page 2 of 56
Official Form 1 (4/07) Thomson West, Rochester, NY                                                                                                                    FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
 (This page must be completed and filed in every case)
                                                                                             Melvin Ray McGill
                        All Prior Bankruptcy Cases Filed Within Last 8 Years                        (If more than two, attach additional sheet)
 Location Where Filed:                                                                      Case Number:                                           Date Filed:
 NONE
 Location Where Filed:                                                                      Case Number:                                           Date Filed:


 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                   (If more than one, attach additional sheet)
 Name of Debtor:                                                                            Case Number:                                           Date Filed:

 District:                                                                                   Relationship:                                         Judge:


                                   Exhibit A                                                                                                 Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
       Exhibit A is attached and made a part of this petition
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
                                                                                       X     /s/ David M. Trentadue                                                       5/16/2007
                                                                                                       Signature of Attorney for Debtor(s)                   Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                                 Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                  (Check all applicable boxes.)

             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                              (Name of landlord that obtained judgment)


                                                              (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
             permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
             possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.
                                      Case:07-02752-jrh               Doc #:10-2 Filed: 05/17/2007                        Page 3 of 56
Official Form 1 (4/07) Thomson West, Rochester, NY                                                                                                    FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Melvin Ray McGill
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                     I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                     Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                     attached.
11 U.S.C. §342(b)
                                                                                     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States           chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                    granting recognition of the foreign main proceeding is attached.
 X /s/ Melvin Ray McGill
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                       5/16/2007
       5/16/2007                                                                      (Date)
     Date


                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
                                      Signature of Attorney
                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition
                                                                                preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
 X /s/ David M. Trentadue                                                       compensation and have provided the debtor with a copy of this document
     Signature of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
     David M. Trentadue P51889                                                  and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     Printed Name of Attorney for Debtor(s)
                                                                                11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                                bankruptcy petition preparers, I have given the debtor notice of the
     A LEGAL SOLUTION                                                           maximum amount before preparing any document for filing for a debtor or
     Firm Name                                                                  accepting any fee from the debtor, as required in that section. Official Form
                                                                                19B is attached.
     P.O. Box 120173
     Address


                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     Grand Rapids MI                       49512
     616-940-4740                                                                Social Security number (If the bankruptcy petition preparer is not an
     Telephone Number                                                            individual, state the Social Security number of the officer, principal,
                                                                                 responsible person or partner of the bankruptcy petition preparer.) (Required
       5/16/2007                                                                 by 11 U.S.C. § 110.)
     Date

                    Signature of Debtor (Corporation/Partnership)                Address

I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to           X
file this petition on behalf of the debtor.

The debtor requests the relief in accordance with the chapter of title              Date
11, United States Code, specified in this petition.                              Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                 person, or partner whose Social Security number is provided above.
 X                                                                              Names and Social Security numbers of all other individuals who prepared or
     Signature of Authorized Individual                                         assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                not an individual.

     Printed Name of Authorized Individual



     Title of Authorized Individual                                              If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
       5/16/2007
                                                                                 A bankruptcy petition preparer s failure to comply with the provisions of title 11
     Date
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                             Case:07-02752-jrh
Official Form 1, Exhibit D (10/06) West Group, Rochester, NY
                                                                Doc #:10-2 Filed: 05/17/2007                          Page 4 of 56


                                           UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF MICHIGAN
                                                   SOUTHERN DIVISION

In re Melvin Ray McGill                                                                                                   Case No. 07-02752
                                                                                                                          Chapter 7


                                            Debtor(s)




         EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                          CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                1. Within the 180 days before the filing of my bankruptcy case,             I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                2. Within the 180 days before the filing of my bankruptcy case,             I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
                               Case:07-02752-jrh
 Official Form 1, Exhibit D (10/06) West Group, Rochester, NY
                                                                 Doc #:10-2 Filed: 05/17/2007                           Page 5 of 56


               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                          Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                 so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                          Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                 reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                          Active military duty in a military combat zone.


                 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Melvin Ray McGill
 Date:      5/16/2007
                           Case:07-02752-jrh                 Doc #:10-2 Filed: 05/17/2007                         Page 6 of 56
Official Form 22A (Chapter 7) (4/07)


                                                                                              According to the calculations required by this statement:
  In re   MELVIN RAY MCGILL                                                                      The presumption arises.
                  Debtor(s)                                                                      The presumption does not arise.
  Case Number: 07-02752                                                                (Check the box as directed in Parts I, III, and VI of this statement.)
                  (If known)


                               CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                         AND MEANS-TEST CALCULATION

In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.

                                           Part I. EXCLUSION FOR DISABLED VETERANS
          If you are a disabled veteran described in the Veteran s Declaration in this Part I, (1) check the box at the beginning of the
          Veteran s Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1
            Veteran s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).




                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
          a.    Unmarried. Complete only Column A ("Debtor s Income") for Lines 3-11.
          b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
          penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
          living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
          Complete only Column A ("Debtor s Income") for Lines 3-11.
          c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.        Complete both
  2
          Column A ("Debtor s Income") and Column B ("Spouse s Income") for Lines 3-11.
          d.    Married, filing jointly.Complete both Column A ("Debtor s Income") and Column B ("Spouse s Income") for
          Lines 3-11.
          All figures must reflect average monthly income recieved from all sources, derived during the six calendar
                                                                                                                                         Column A       Column B
          months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
          of monthly income varied during the six months, you must divide the six month total by six, and enter the                      Debtor's       Spouse's
          result on the appropriate line.
                                                                                                                                          Income           Income
  3       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $0.00          $

          Income from the operation of a business, profession, or farm.                  Subtract Line b from Line
          a and enter the difference in the appropriate column(s) of Line 4. Do not enter a number less
          than zero.             Do not include any part of the business expenses entered on Line b as a deduction
  4       in Part V.
            a.     Gross receipts                                                       $4,858.00
            b.     Ordinary and necessary business expenses                             $2,970.85
                                                                                                                                        $1,887.15      $
            c.     Business income                                                      Subtract Line b from Line a

           Rent and other real property income.           Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 5. Do not enter a number less than zero.     Do not include
          any part of the operating expenses entered on Line b as a deduction in Part V.
  5         a.     Gross receipts                                                       $0.00
            b.     Ordinary and necessary operating expenses                            $0.00
            c.     Rent and other real property income                                  Subtract Line b from Line a                     $0.00          $

  6       Interest, dividends, and royalties.                                                                                           $0.00          $

  7       Pension and retirement income.                                                                                                $0.00          $
                          Case:07-02752-jrh                 Doc #:10-2 Filed: 05/17/2007                        Page 7 of 56
Official Form 22A (Chapter 7) (4/07)       - Cont.                                                                                                         2
         Any amounts paid by another person or entity, on a regular basis, for the household
  8      expenses of the debtor or the debtor's dependents, including child or spousal support.
         Do not include amounts paid by the debtor's spouse if Column B is completed.                                            $0.00            $

         Unemployment compensation.              Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation recieved by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act              $0.00
                                                           Debtor ________                     $
                                                                                       Spouse _________                          $0.00            $

          Income from all other sources.          If necessary, list additional sources on a separate page.
          Do not include any benefits received under the Social Security Act or payments received as
 10      a victim of a war crime, crime against humanity, or as a victim of international or domestic
         terrorism. Specify source and amount.
             a.                                                                               0
             b.                                                                               0

          Total and enter on Line 10                                                                                             $0.00            $
         Subtotal of Current Monthly Income for § 707(b)(7).        Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                               $1,887.15        $

         Total Current Monthly Income for § 707(b)(7).       If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                      $1,887.15




                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).             Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                                  $22,645.80

         Applicable median family income.          Enter the median family income for the applicable state and
         household size. (This information is available by family size at   www.usdoj.gov/ust/      or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                              $42,596.00
                                                 MICHIGAN
         a. Enter debtor s state of residence: ______________________                                       1
                                                                      b. Enter debtor s household size: __________

         Application of Section 707(b)(7).      Check the applicable box and proceed as directed.
           The amount on Line 13 is less than or equal to the amount on Line 14.              Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.               Complete the remaining parts of this
         statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                       $

         Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line
 17      11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor s
         dependents. If you did not check box at Line 2.c, enter zero.                                                                        $

 18      Current monthly income for § 707(b)(2).        Subtract Line 17 from Line 16 and enter the result.                                   $




                       Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                  Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, household supplies, personal care, and
 19      miscellaneous. Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the
         applicable family size and income level. (This information is available at www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.)                                                                                          $

          Local Standards: housing and utilities; non-mortgage expenses.                  Enter the amount of the
 20A     IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size.
         (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                     $
                             Case:07-02752-jrh                 Doc #:10-2 Filed: 05/17/2007                        Page 8 of 56
Official Form 22A (Chapter 7) (4/07)           - Cont.                                                                                            3
          Local Standards: housing and utilities; mortgage/rent expenses.               Enter, in Line a below, the
         amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
         (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
         Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
         42; subtract Line b from Line a and enter the result in Line 20B.  Do not enter an amount less than zero.
 20B
          a.       IRS Housing and Utilities Standards; mortgage/rental expenses                               $
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                          $
          c.       Net mortgage/rental expense                                                                 Subtract Line b from Line a.   $

         Local Standards: housing and utilities; adjustment.             if you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                              $

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.
         Check the number of vehicles for which you pay the operating expenses or for which the operating
 22      expenses are included as a contribution to your household expenses in Line 8.
              0     1     2 or more.

         Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
         the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
         information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                           $

         Local Standards: transportation ownership/lease expense; Vehicle 1.              Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.     Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs, First Car             $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                       $                                                      $
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.

          Local Standards: transportation ownership/lease expense; Vehicle 2.
          Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.        IRS Transportation Standards, Ownership Costs, Second Car                        $
           b.        Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                             $
           c.        Net ownership/lease expense for Vehicle 2
                                                                                                      Subtract Line b from Line a.            $

         Other Necessary Expenses: taxes.             Enter the total average monthly expense that you actually incur
 25      for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
         employment taxes, social security taxes, and Medicare taxes.           Do not include real estate or sales
         taxes.

         Other Necessary Expenses: mandatory payroll deductions.               Enter the total average monthly
 26      payroll deductions that are required for your employment, such as mandatory retirement contributions,
         union dues, and uniform costs.            Do not include discretionary amounts, such as non-mandatory
         401(k) contributions.                                                                                                                $
                          Case:07-02752-jrh                 Doc #:10-2 Filed: 05/17/2007                           Page 9 of 56
Official Form 22A (Chapter 7) (4/07)        - Cont.                                                                                      4
          Other Necessary Expenses: life insurance.         Enter average monthly premiums that you actually
 27      pay for term life insurance for yourself.      Do not include premiums for insurance on your dependents,
                                                                                                                                     $
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                Enter the total monthly amount that
 28      you are required to pay pursuant to court order, such as spousal or child support payments.        Do not
         include payments on past due support obligations included in Line 44.                                                       $

          Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child. Enter the total monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                 $

 30      Other Necessary Expenses: childcare.               Enter the average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool.    Do not include other educational payments.            $

         Other Necessary Expenses: health care.          Enter the average monthly amount that you actually
 31      expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                  $

          Other Necessary Expenses: telecommunication services.                      Enter the average monthly amount
         that you actually pay for telecommunication services other than your basic home telephone service -- such
 32      as cell phones, pagers, call waiting, caller id, special long distance, or internet service -- to the extent
                                                                                                                                     $
         necessary for your health and welfare or that of your dependents.        Do not include any amount previously
         deducted.
 33      Total Expenses Allowed under IRS Standards.               Enter the total of Lines 19 through 32                            $

                              Subpart B: Additional Expense Deductions under § 707(b)
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                    List and total the average
         monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following categories.

           a.     Health Insurance                $
 34
           b.     Disability Insurance            $
           c.     Health Savings Account          $
                                                   Total: Add Lines a, b and c                                                       $

         Continued contributions to the care of household or family members.                  Enter the actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                            $

         Protection against family violence.            Enter any average monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                $

        Home energy costs.       Enter the average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs.  You must
        provide your case trustee with documentation demonstrating that the additional amount claimed is
        reasonable and necessary.                                                                                                    $

         Education expenses for dependent children less than 18.                Enter the average monthly
         expenses that you actually incur, not to exceed $137.50 per child, in providing elementary and secondary
 38      education for your dependent children less than 18 years of age.      You must provide your case trustee
         with documentation demonstrating that the amount claimed is reasonable and necessary and
         not already accounted for in the IRS Standards.                                                                             $

         Additional food and clothing expense.           Enter the average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to
 39      exceed five percent of those combined allowances. (This information is available at   www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
         demonstrating that the additional amount claimed is reasonable and necessary.                                               $

 40      Continued charitable contributions.              Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                 $

 41      Total Additional Expense Deductions under § 707(b).              Enter the total of Lines 34 through 40                     $
                         Case:07-02752-jrh                  Doc #:10-2 Filed: 05/17/2007                            Page 10 of 56
Official Form 22A (Chapter 7) (4/07)        - Cont.                                                                                     5
                                               Subpart C: Deductions for Debt Payment
         Future payments on secured claims.            For each of your debts that is secured by an interest in
         property that you own, list the name of creditor, identify the property securing the debt, and state the
         Average Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to
         each Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage
         debts should include payments of taxes and insurance required by the mortgage. If necessary, list
         additional entries on a separate page.

                    Name of Creditor             Property Securing the Debt              60-Month Average Payment
 42       a.                                                                             $
          b.                                                                             $
          c.                                                                             $
          d.                                                                             $
          e.                                                                             $

                                                                                          Total: Add Lines a - e                    $

         Other payments on secured claims.                 If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor               Property Securing the Debt                  1/60th of the Cure Amount
 43
          a.                                                                                 $
          b.                                                                                 $
          c.                                                                                 $
          d.                                                                                 $
          e.                                                                                 $

                                                                                                 Total: Add Lines a - e             $

 44      Payments on priority claims. Enter the total amount of all priority claims (including priority child
         support and alimony claims), divided by 60.                                                                                $

         Chapter 13 administrative expenses.            If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                               $
 45             Current multiplier for your district as determined under                 x
          b.                                                                                     $
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)

          c.     Average monthly administrative expense of Chapter 13 case                Total: Multiply Lines a and b             $


 46      Total Deductions for Debt Payment.            Enter the total of Lines 42 through 45.                                      $

                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
 47      Total of all deductions allowed under § 707(b)(2).             Enter the total of Lines 33, 41, and 46.                    $




                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $

 50      Monthly disposable income under § 707(b)(2).                Subtract Line 49 from Line 48 and enter the
         result                                                                                                                     $
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Official Form 22A (Chapter 7) (4/07)        - Cont.                                                                                                        6
 51      60-month disposable income under § 707(b)(2).               Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       $

         Initial presumption determination.           Check the applicable box and proceed as directed.

            The amount on Line 51 is less than $6,575            Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950.                  Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950.                Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.                 Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination.               Check the applicable box and proceed as directed.
            The amount on Line 51 is less than the amount on Line 54.                 Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
            The amount on Line 51 is equal to or greater than the amount on Line 54.                     Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.



                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                   Monthly Amount
 56
           a.                                                                            $
           b.                                                                            $
           c.                                                                            $
                                              Total: Add Lines a, b, and c               $



                                                             Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.     (If this a joint case,
         both debtors must sign.)

                05/16/2007
         Date: ________________________             /s/ Melvin Ray McGill
                                        Signature: _____________________________________________________________________
 57
                                                       (Debtor)
                05/16/2007
         Date: ________________________ Signature: _____________________________________________________________________
                                                       (Joint Debtor, if any )
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            ACADEMIC SURGICAL ASSOCIATES
            1000 EAST PARIS SE
            SUITE 150
            GRAND RAPIDS MI 49546


            ACCOUNTS RECEIVABLE SOLUTION
            PO BOX 184
            SAINT JOHNS MI 48879-0184


            ADVANCED RADIOLOGY SERVICES
            3264 N EVERGREEN DRIVE
            SUITE 101
            GRAND RAPIDS MI 49525


            ADVANCED RADIOLOGY SERVICES PC
            3355 EAGLE PARK DRIVE NE
            SUITE 103
            GRAND RAPIDS MI 49525


            ADVO
            PO BOX A3975
            CHICAGO IL 60690-3975


            ARMOR SYSTEMS CORPORATION
            2322 N GREEN BAY ROAD
            WAUKEGON IL 60087-4209


            ASSET ACCEPTANCE LLC
            PO BOX 2036
            WARREN MI 48090-2036


            C A R M
            1015 WILCOX STREET
            PO BOX 358
            CADILLAC MI 49601


            CANCER & HEMATOLOGY CENTERS
            SUITE 200
            710 KENMOOR SE
            GRAND RAPIDS MI 49546
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            CBCS
            PO BOX 1615
            GRAND RAPIDS   MI   49501-1615


            CBCS
            PO BOX 165025
            COLUMBUS OH 43216-5025


            CENTENNIAL WIRELESS
            3811 ILLINOIS ROAD
            SUITE 212
            FORT WAYNE IN 46804


            COMPUTER CREDIT
            CLAIM DEPT 002461
            640 WEST FOURTH ST BOX 5238
            WINSTON SALEM NC 27113-5238


            COMPUTER CREDIT
            DEPT 002461
            640 WEST FOURTH ST BOX 5238
            WINSTON SALEM NC 27113-5238


            COMPUTER HEALTH SERVICES
            233 E FULTON STREET
            SUITE 104
            GRAND RAPIDS MI 49503


            DELL FINANCIAL SERVICES
            PAYMENT PROCESSING CENTER
            PO BOX 5292
            CAROL STREAM IL 60197-5292


            ECS BUTTERWORTH
            PO BOX 3536
            GRAND RAPIDS MI     49501


            ECS BUTTERWORTH
            PO BOX 3536
            GRAND RAPIDS MI     49501-3536
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            EMERGENCY CARE SPECIALISTS
            PO BOX 3536
            GRAND RAPIDS MI 49501


            GREATLAND CORPORATION
            PO BOX 7481
            GRAND RAPIDS MI 49510


            HAVILAH RECOVERY SOLUTIONS
            PO BOX 113
            ZEELAND MI 49464


            HOSPITALS OF WEST MICHIGAN
            PO BOX 1682
            GRAND RAPIDS MI 49501-1682


            INTEGRATED MEDICAL LABORATORIE
            PO BOX 691105
            SAN ANTONIO TX 78269


            INTUIT
            PO BOX 513340
            LOS ANGELES CA    90051-3340


            JAMES R STOKES
            THE STEEPLE VIEW BUILDING
            429 TURNER NW
            GRAND RAPIDS MI 49504


            JOEL S WHETSTONE PC
            146 MONROE NW
            SUITE 1221
            GRAND RAPIDS MI 49503-2821


            JOHN N CAMBELL
            2002 44TH STREET SE
            KENTWOOD MI 49508


            LSI FINANCIAL
            641 44TH STREET
            GRAND RAPIDS MI    49548
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            MARK OBRIEN MD PC
            SUITE 201
            4070 LAKE DRIVE SE
            GRAND RAPIDS MI 49546


            MONEY RECOVERY NATIONWIDE
            801 S WAVERLY ROAD
            SUITE 100
            LANSING MI 48917


            MULLER MULLER RICHMOND HARMS
            161 OTTAWA AVENUE NW
            SUITE 205-E WATERS BUILDING
            GRAND RAPIDS MI 49503-2782


            PATER LAW PC
            714 MICHIGAN AVENUE
            SUITE B
            HOLLAND MI 49423-4999


            PETER A PAPLAWSKY DDS
            810 ALGER SE
            GRAND RAPIDS MI 49507-3803


            SPECTRUM HEALTH HOSPITAL
            100 MICHIGAN STREET NE
            GRAND RAPIDS MI 49503


            SPECTRUM HEALTH HOSPITALS
            PO BOX 2127
            GRAND RAPIDS MI 49501-2127


            SPRINT
            PO BOX 740219
            CINCINNATI OH    45274-0219


            STANLEY M MESIROW MD PC
            777 D RIVERVIEW DRIVE
            SUITE 219
            BENTON HARBOR MI 49022
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            T-MOBILE FINANCIAL
            PO BOX 2400
            YOUNG AMERICA MN 55553-2400


            TOWERS SURGEONS PC
            3230 EAGLE PARKDRIVE NE
            SUITE 210
            GRAND RAPIDS MI 49525


            TRANSWORLD SYSTEMS INC
            5880 COMMERCE BLVD
            ROHNERT PARK CA 94928-1651


            US DEPARTMENT OF EDUCATION
            NATIONAL PAYMENT CENTER
            PO BOX 4169
            GREENVILLE TX 75403-4169


            WJNZ RADIO
            1919 EASTERN AVENUE SE
            GRAND RAPIDS MI 49507
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                                   UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION


In re Melvin Ray McGill                                                                   Case No. 07-02752
      dba Gilmacs Accounting Payroll Taxes                                                Chapter 7
                                                                           / Debtor
    Attorney for Debtor:    David M. Trentadue



                                       VERIFICATION OF CREDITOR MATRIX


           The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of my (our) knowledge, and that all creditors listed on the schedules (if filed with the matrix) are listed

   on the matrix.




Date: 5/16/2007

                                                                  /s/ David M. Trentadue
                                                                  Attorney for the Debtor


                                                                  /s/ Melvin Ray McGill
                                                                  Debtor
                                 Case:07-02752-jrh
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                                                 UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF MICHIGAN
                                                         SOUTHERN DIVISION

In re:Melvin Ray McGill                                                                                                     Case No. 07-02752
      dba Gilmacs Accounting Payroll Taxes



                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor
children by stating a minor child. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for
the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time activities
     either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the gross amounts
     received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
     calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
     separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)

AMOUNT                                                      SOURCE

Year to date:                 $27,988.00                    Gilmacs Accounting
   Last Year:                   $48,559.00
Year before:                  $40,310.00

2. Income other than from employment or operation of business
     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE



3. Payments to creditors
     Complete a. or b., as appropriate, and c.




                                                                                                                         Statement of Affairs - Page 1
                               Case:07-02752-jrh
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    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any creditor, made
    within 90 days immediately preceding the commencement of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less
    than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment
    schedule under a plan by an approved nonprofit budgeting and creditor counseling agency.(Married debtors filing under chapter 12 or chapter 13 must include payments by
    either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                              DATES OF                                                              AMOUNT
                                                                          PAYMENTS                     AMOUNT PAID                              STILL OWING

Creditor:   Spectrum Health -                                             2/26/07                      $500.00                                  $182,425.56
Grand Rapids, MI                                                          3/14/07                      $400.00
Address: 100 Michigan NE, Grand
Rapids, MI 49503

    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
    commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,475. (Married debtors filing under
    chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders.
    (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and joint petition is not filed.)

    NONE



4. Suits and administrative proceedings, executions, garnishments and attachments
    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
    debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                             COURT OR AGENCY
AND CASE NUMBER                         NATURE OF PROCEEDING                                  AND LOCATION                                STATUS OR DISPOSITION

Spectrum Health                         CIVIL                                               State of Michigan                             Civil Judgment,
Hospitals vs.                                                                               17CC Judicial                                 Garnishment
Melvin McGill                                                                               Circuit Court
Case #0508380CK


Advanced Radiology                      CIVIL                                               State of Michigan                             JUDGMENT
Services vs. Melvin                                                                         61st Judicial
McGill                                                                                      Circuit Court
Case #06-GC-2802

    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
    case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



5. Repossessions, foreclosures and returns
    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
    year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
    both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



6. Assignments and receiverships
    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing
    under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)


                                                                                                                         Statement of Affairs - Page 2
                                Case:07-02752-jrh
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    NONE



    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



7. Gifts
    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
    aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter
    12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
    not filed.)

    NONE



8. Losses
    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
    (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
    and a joint petition is not filed.)

    NONE



9. Payments related to debt counseling or bankruptcy
    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief
    under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                            DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                   NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: David M. Trentadue                                   Date of Payment:04/15/2007                                      $351.00 +$299.00 +$50.00
Address:                                                    Payor: Melvin Ray McGill                                        Credit Counseling
P.O. Box 120173
Grand Rapids, MI 49512

10. Other transfers
    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
    within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
    spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE




    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which the
    debtor is a benificiary.

    NONE



11. Closed financial accounts
    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
    immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and
    share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
    chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the
    spouses are separated and a joint petition is not filed.)

    NONE




                                                                                                                            Statement of Affairs - Page 3
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12. Safe deposit boxes
    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
    commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
    petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



13. Setoffs
    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
    filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



14. Property held for another person
    List all property owned by another person that the debtor holds or controls.

    NONE



15. Prior address of debtor
    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
    vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

    NONE



16. Spouses and Former Spouses
    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
    Puerto Rico, Texas, Washington, or W isconsin) within eight years period immediately preceding the commencement of the case, identify the name of the debtor's spouse
    and of any former spouse who resides or resided with the debtor in the community property state.

    NONE



17. Environmental Information
    For the purpose of this question, the following definitions apply:

    "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
    material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
    wastes, or material.

      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
      including, but not limited to disposal sites.

      "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar term
      under an Environmental Law:

    a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or in
    violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

    NONE



    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental unit
    to which the notice was sent and the date of the notice.

    NONE



    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party. Indicate
    the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

    NONE



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18. Nature, location and name of business
     a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses in
     which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade,
     profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the commencment of this case.

         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencment of this case.


                                                               LAST FOUR DIGITS OF                                                                           BEGINNING AND
NAME AND ADDRESS                                               SOC. SEC. NO./                              NATURE OF BUSINESS                                ENDING DATES
                                                               COMPLETE EIN OR
                                                               OTHER TAXPAYER I.D.


Debtor is an Individual: Yes                                   ID: XX-XXXXXXX                              Accounting                                        2/15/1990
Business: Gilmacs Accounting                                                                                                                                 to Present
Payroll Taxes
Address:   1143 Burton
Street, SE
                 Grand
Rapids, MI 49507

     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


    NONE




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
self-employed in a trade, profession, or other activity, either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
signature page.)



19. Books, records and financial statements
     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of books of account
     and records of the debtor.

NAME AND ADDRESS                                                                                                                    DATES SERVICES RENDERED

Name:                     Melvin Ray McGill                                                                                         Dates: 2/15/1990 to
Address:                 703 Alger Street, SE                                                                                       Present
                               Grand Rapids, MI                           49507

     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records, or prepared a
     financial statement of the debtor.

    NONE



     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If any of the
     books of account and records are not available, explain.

NAME AND ADDRESS

Name:                       Melvin Ray McGill
Address:                   703 Alger Street, SE - Grand Rapids, MI                                            49507

                                                                                                                                 Statement of Affairs - Page 5
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 QUESTION 19c CONTINUED ...

NAME AND ADDRESS

Missing:

    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor within two years
    immediately preceding the commencement of this case.

    NONE



20. Inventories
    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar amount and basis
    of each inventory.

    NONE



    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


    NONE



21. Current Partners, Officers, Directors and Shareholders
    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

    NONE



    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5 percent or more
    of the voting or equity securities of the corporation.

    NONE



22. Former partners, officers, directors and shareholders
    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.

    NONE



    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the commencement of
    this case.

    NONE



23. Withdrawals from a partnership or distribution by a corporation
    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses, loans, stock
    redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.

    NONE



24. Tax Consolidation Group.
    If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax purposes of which the
    debtor has been a member at any time within six years immediately preceeding the commencement of the case.

    NONE




                                                                                                                               Statement of Affairs - Page 6
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25. Pension Funds.
    If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer, has been responsible
    for contributing at any time within six years immediately preceding the commencement of the case.

    NONE




 [If completed by an individual or individual and spouse]


 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and
 any attachments thereto and that they are true and correct.



        Date     5/16/2007                        Signature      /s/ Melvin Ray McGill
                                                  of Debtor


                                                  Signature
        Date
                                                  of Joint Debtor
                                                  (if any)




                                                                                                                      Statement of Affairs - Page 7
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In re Melvin Ray McGill                                                                              / Debtor         Case No. 07-02752
                                                                                                                                                     (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W ," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.
If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                          Current
             Description and Location of Property                              Nature of Debtor's                                              Amount of
                                                                                                                           Value
                                                                              Interest in Property                   of Debtor's Interest,
                                                                                                                                             Secured Claim
                                                                                                       Husband--H    in Property Without
                                                                                                          Wife--W       Deducting any
                                                                                                          Joint--J    Secured Claim or
                                                                                                     Community--C         Exemption


None                                                                                                                                                      None




No continuation sheets attached                                                                TOTAL $                             0.00
                                                                        (Report also on Summary of Schedules.)
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In re Melvin Ray McGill                                                                                        / Debtor            Case No. 07-02752
                                                                                                                                                                       (if known)

                                                      SCHEDULE B-PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                            Current
               Type of Property                   N               Description and Location of Property                                                       Value
                                                                                                                                                      of Debtor's Interest,
                                                  o                                                                               Husband--H          in Property Without
                                                                                                                                      Wife--W            Deducting any
                                                  n                                                                                                    Secured Claim or
                                                                                                                                     Joint--J
                                                  e                                                                             Community--C               Exemption


1. Cash on hand.                                  X

2. Checking, savings or other financial               1st United Federal CU Savings                                                                               $ 20.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,                   Computer Equipment                                                                                        $ 500.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


                                                      Kitchen Appliances                                                                                        $ 100.00
                                                      Location: In debtor's possession


                                                      Refrigerator                                                                                                $ 25.00
                                                      Location: In debtor's possession


                                                      Stereos and Radios                                                                                          $ 25.00
                                                      Location: In debtor's possession


                                                      Stove/Microwave                                                                                             $ 25.00
                                                      Location: In debtor's possession


                                                      Television                                                                                                $ 100.00
                                                      Location: In debtor's possession


                                                      VCR                                                                                                         $ 25.00
                                                      Location: In debtor's possession




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In re Melvin Ray McGill                                                                                 / Debtor        Case No. 07-02752
                                                                                                                                                       (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY

                                                                          (Continuation Sheet)

                                                                                                                                           Current
               Type of Property                     N            Description and Location of Property                                       Value
                                                                                                                                      of Debtor's Interest,
                                                    o                                                                   Husband--H    in Property Without
                                                                                                                            Wife--W      Deducting any
                                                    n                                                                                  Secured Claim or
                                                                                                                           Joint--J
                                                    e                                                                 Community--C         Exemption

                                                        Yard Tools/Other Tools                                                                  $ 100.00
                                                        Location: In debtor's possession


5. Books, pictures and other art objects,               Paintings/Art                                                                           $ 500.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or               Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                     Clothing                                                                            $ 2,000.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                    Jewelry                                                                                 $ 100.00
                                                        Location: In debtor's possession


8. Firearms and sports, photographic, and               Digital Camera                                                                            $ 50.00
   other hobby equipment.
                                                        Location: In debtor's possession


9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Itemize.

13. Stock and interests in incorporated and             Gilmacs Accounting, Sole Proprietorship                                             $ 2,000.00
    unincorporated businesses. Itemize.
                                                        Location: In debtor's possession


14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.

16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.




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In re Melvin Ray McGill                                                                                / Debtor        Case No. 07-02752
                                                                                                                                                      (if known)

                                                       SCHEDULE B-PERSONAL PROPERTY

                                                                         (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property                  N            Description and Location of Property                                       Value
                                                                                                                                     of Debtor's Interest,
                                                   o                                                                   Husband--H    in Property Without
                                                                                                                           Wife--W      Deducting any
                                                   n                                                                                  Secured Claim or
                                                                                                                          Joint--J
                                                   e                                                                 Community--C         Exemption

18. Other liquidated debts owing debtor            X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.

25. Automobiles, trucks, trailers and other        X
    vehicles.

26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X

28. Office equipment, furnishings, and                 Office Equipment                                                                    $ 2,500.00
    supplies.
                                                       Location: In debtor's possession


29. Machinery, fixtures, equipment and             X
    supplies used in business.

30. Inventory.                                     X

31. Animals.                                       X

32. Crops - growing or harvested.                  X
    Give particulars.

33. Farming equipment and implements.              X

34. Farm supplies, chemicals, and feed.            X




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In re Melvin Ray McGill                                                                         / Debtor          Case No. 07-02752
                                                                                                                                                    (if known)

                                                  SCHEDULE B-PERSONAL PROPERTY

                                                                  (Continuation Sheet)

                                                                                                                                        Current
              Type of Property                N          Description and Location of Property                                            Value
                                                                                                                                   of Debtor's Interest,
                                              o                                                                  Husband--H        in Property Without
                                                                                                                     Wife--W          Deducting any
                                              n                                                                                     Secured Claim or
                                                                                                                    Joint--J
                                              e                                                                Community--C             Exemption

35. Other personal property of any kind not   X
    already listed. Itemize.




Page      4     of     4                                                                                     Total                         $ 8,070.00
                                                                                                                (Report total also on Summary of Schedules.)
                                                                                                      Include amounts from any continuation sheets attached.
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In re
        Melvin Ray McGill                                                                          / Debtor           Case No. 07-02752
                                                                                                                                                      (if known)

                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:              Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2):
   11 U.S.C. § 522(b) (3):




                                                                         Specify Law                               Value of                 Current
             Description of Property                                    Providing each                             Claimed             Value of Property
                                                                          Exemption                               Exemption            Without Deducting
                                                                                                                                          Exemptions

1st United Federal CU Savings                       11 U.S.C. § 522(d)(5)                                                $ 20.00                    $ 20.00

Computer Equipment                                  11 USC 522(d)(3)                                                   $ 500.00                    $ 500.00

Kitchen Appliances                                  11 U.S.C. § 522(d)(5)                                              $ 100.00                    $ 100.00

Refrigerator                                        11 USC 522(d)(3)                                                     $ 25.00                    $ 25.00

Stereos and Radios                                  11 USC 522(d)(3)                                                     $ 25.00                    $ 25.00

Stove/Microwave                                     11 USC 522(d)(3)                                                     $ 25.00                    $ 25.00

Television                                          11 USC 522(d)(3)                                                   $ 100.00                    $ 100.00

VCR                                                 11 USC 522(d)(3)                                                     $ 25.00                    $ 25.00

Yard Tools/Other Tools                              11 USC 522(d)(3)                                                   $ 100.00                    $ 100.00

Paintings/Art                                       11 USC 522(d)(5)                                                   $ 500.00                    $ 500.00

Clothing                                            11 USC 522(d)(3)                                                $ 2,000.00                $ 2,000.00

Jewelry                                             11 USC 522(d)(4)                                                   $ 100.00                    $ 100.00

Digital Camera                                      11 U.S.C. § 522(d)(5)                                                $ 50.00                    $ 50.00

Gilmacs Accounting                                  11 USC 522(d)(5)                                                $ 2,000.00                $ 2,000.00

Office Equipment                                    11 USC 522(d)(5)                                                $ 2,500.00                $ 2,500.00




                                                                                                                                     Page No.      1 of      1
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In re Melvin Ray McGill                                                                                ,                                    Case No. 07-02752
                                          Debtor(s)                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not
disclose the child's name. See U.S.C. § 112. If a "minor child" is stated, also include the name, address, and legal relationship to the minor child of a person
described in Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)
           Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)"
on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primary consumer debts, report the total from the column labeled "Unsecured Portion, if Any"
on the Statistical Summary of Certain Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                              Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                                of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                       Unliquidated


              Including ZIP Code and
                                                                                                                       Contingent




                                                                 Value of Property Subject to Lien                                       Deducting Value
                                                     Co-Debtor




                  Account Number
                                                                                                                       Disputed



              (See Instructions Above.)                          H--Husband                                                                 of Collateral
                                                                 W--Wife
                                                                 J--Joint
                                                                 C--Community
Account No:




                                                                    Value:

Account No:




                                                                    Value:

Account No:




                                                                    Value:

No continuation sheets attached                                                                                   Subtotal $                           $ 0.00                          $ 0.00
                                                                                                               (Total of this page)
                                                                                                                        Total $                        $ 0.00                          $ 0.00
                                                                                                           (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of
                                                                                                                                                                   Certain Liabilities and
                                                                                                                                                                   Related Data)
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   In re Melvin Ray McGill                                                                                                  ,                               Case No. 07-02752
                                                      Debtor(s)                                                                                                                 (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, indicate that by stating a minor child and do not disclose the child's name. See 11 U.S.C. § 112. If a "minor
   child" is stated, also include the name, address and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W ", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled Totals on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                      (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                    1 No continuation sheets attached
                                 Case:07-02752-jrh
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In re Melvin Ray McGill                                                                                                    ,                             Case No. 07-02752
                                          Debtor(s)                                                                                                                            (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:         Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                    Date Claim was Incurred and                                               Amount of     Amount       Amount not
                                                                           Consideration for Claim                                                  Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                               Priority      Priority,




                                                                                                                                   Unliquidated
                                                                                                                                   Contingent
              and Account Number                                                                                                                                                if any

                                                    Co-Debtor




                                                                                                                                   Disputed
                                                                H--Husband
              (See instructions above.)                         W--Wife
                                                                J--Joint
                                                                C--Community

       4728
Account No:                                                       1985                                                                            $ 24,000.00 $ 24,000.00          $ 0.00
Creditor # : 1                                                    Student Loan
US Department of Education
National Payment Center
PO Box 4169
Greenville TX 75403-4169

Account No:




Account No:




Account No:




Account No:




Account No:




                                                                                                                               Subtotal $           24,000.00   24,000.00            0.00
Sheet No.      1 of         1   continuation sheets attached                                                             (Total of this page)
to Schedule of Creditors Holding Priority Claims                                                                                  Total $
                                                                 (Use only on last page of the com pleted Schedule E. Report total also on          24,000.00
                                                                                                                Sum m ary of Schedules)

                                                                                                                                  Total $
                                                                 (Use only on last page of the com pleted Schedule E. If applicable, report                     24,000.00            0.00
                                                                 also on the Statistical Sum m ary of Certain Liabilities and Related Data.)
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Official Form 6F (10/06) West Group, Rochester, NY


In re Melvin Ray McGill                                                                                          ,                                   Case No. 07-02752
                                         Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating
"a minor child" and do not disclose the child's name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship
to the minor child of a person described in Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this
page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

      If the claim is contingent, place an "X" in the column labeled "Cotingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


        Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                          Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                   H--Husband
                (See instructions above.)                          W--Wife
                                                                   J--Joint
                                                                   C--Community
Account No:                                                            2/2006                                                                                                                           $ 70.00
Creditor # : 1                                                         Medical Bills
Academic Surgical Associates
1000 East Paris, SE
Suite 150
Grand Rapids MI 49546

          1089134
Account No:                                                            11/2006                                                                                                                         $ 303.00
Creditor # : 2                                                         Medical Bills
Accounts Receivable Solution
PO Box 184
Saint Johns MI 48879-0184


Account No:     1089134
Representing:                                                          Emergency Care Specialists
                                                                       PO Box 3536
Accounts Receivable Solution
                                                                       Grand Rapids MI 49501



Account No: 957796                                                     5/2006                                                                                                                          $ 276.00
Creditor # : 3                                                         Medical Bills
Accounts Receivable Solution
PO Box 184
Saint Johns MI 48879-0184


    9 continuation sheets attached                                                                                                                  Subtotal $                                         $ 649.00
                                                                                                                                                                   Total $
                                                                      (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                           and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                               Case:07-02752-jrh                        Doc #:10-2 Filed: 05/17/2007                                       Page 35 of 56

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                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     957796
Representing:                                                           Emergency Care Specialists
                                                                        PO Box 3536
Accounts Receivable Solution                                            Grand Rapids MI 49501



Account No: 951203                                                      3/2007                                                                                                                       $ 2,106.00
Creditor # : 4                                                          Medical Bills
Accounts Receivable Solution
PO Box 184
Saint Johns MI 48879-0184


Account No:     951203
Representing:                                                           Emergency Care Specialists
                                                                        PO Box 3536
Accounts Receivable Solution
                                                                        Grand Rapids MI 49501



Account No: 941629                                                      3/2006                                                                                                                          $ 337.00
Creditor # : 5                                                          Medical Bills
Accounts Receivable Solution
PO Box 184
Saint Johns MI 48879-0184


Account No:     941629
Representing:                                                           Emergency Care Specialists
                                                                        PO Box 3536
Accounts Receivable Solution                                            Grand Rapids MI 49501



Account No: S476867                                                     4/2006                                                                                                                          $ 465.00
Creditor # : 6                                                          Medical Bills
Advanced Radiology Services
3264 N. Evergreen Drive
Suite 101
Grand Rapids MI 49525




Sheet No.     1 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 2,908.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     S476867
Representing:                                                           Advanced Radiology Services PC
                                                                        3355 Eagle Park Drive NE
Advanced Radiology Services                                             Suite 103
                                                                        Grand Rapids MI 49525


Account No: 2007087                                                     3/2000                                                                                                                          $ 824.48
Creditor # : 7                                                          Business Supplies
AdvO
PO Box A3975
Chicago IL 60690-3975


          4786
Account No:                                                             10/1999                                                                                                                         $ 163.56
Creditor # : 8                                                          Medical Bills
Armor Systems Corporation
2322 N. Green Bay Road
Waukegon IL 60087-4209


Account No:     4786
Representing:                                                           Integrated Medical Laboratorie
                                                                        PO Box 691105
Armor Systems Corporation                                               San Antonio TX 78269



Account No: 3509230243                                                  4/2007                                                                                                                       $ 1,193.16
Creditor # : 9                                                          Utility Bills
Asset Acceptance LLC
PO Box 2036
Warren MI 48090-2036


          821904
Account No:                                                             4/2006                                                                                                                           $ 51.00
Creditor # : 10                                                         Medical Bills
C.A.R.M.
1015 Wilcox Street
PO Box 358
Cadillac MI 49601




Sheet No.     2 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 2,232.20
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          11830
Account No:                                                             2/2006                                                                                                                       $ 4,275.66
Creditor # : 11                                                         Medical Bills
Cancer & Hematology Centers
Suite 200
710 Kenmoor SE
Grand Rapids MI 49546

Account No:     11830
Representing:                                                           Transworld Systems INC
                                                                        5880 Commerce Blvd.
Cancer & Hematology Centers                                             Rohnert Park CA 94928-1651



Account No:     11830
Representing:                                                           Havilah Recovery Solutions
                                                                        PO Box 113
Cancer & Hematology Centers                                             Zeeland MI 49464



Account No: 21-062220746                                                12/2006                                                                                                                      $ 4,693.72
Creditor # : 12                                                         Medical Bills
CBCS
PO Box 1615
Grand Rapids MI 49501-1615


          07009413
Account No:                                                             8/2006                                                                                                                          $ 540.00
Creditor # : 13                                                         Medical Bills (West Mich. Heart)
CBCS
PO Box 165025
Columbus OH 43216-5025


          21-043484439
Account No:                                                             12/2004                                                                                                                         $ 145.00
Creditor # : 14                                                         Medical Bills (Emerg Care)
CBCS
PO Box 1615
Grand Rapids MI 49501-1615




Sheet No.     3 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 9,654.38
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                               Case:07-02752-jrh                        Doc #:10-2 Filed: 05/17/2007                                       Page 38 of 56

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                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          21-970104074
Account No:                                                             2/2006                                                                                                                       $ 2,418.72
Creditor # : 15                                                         Medical Bills (Campbell, MD)
CBCS
PO Box 165025
Columbus OH 43216-5025


          40742512-004
Account No:                                                             10/2006                                                                                                                         $ 990.02
Creditor # : 16
Centennial Wireless
3811 Illinois Road
Suite 212
Fort Wayne IN 46804

          4768674223
Account No:                                                             12/2004                                                                                                                         $ 162.41
Creditor # : 17                                                         Medical Bills
Computer Credit
Claim Dept 002461
640 West Fourth St, Box 5238
Winston Salem NC 27113-5238

Account No:     4768674223
Representing:                                                           Spectrum Health Hospitals
                                                                        PO Box 2127
Computer Credit                                                         Grand Rapids MI 49501-2127



Account No: 4768676195                                                  12/2006                                                                                                                         $ 502.93
Creditor # : 18                                                         Loan
Computer Credit
Dept. 002461
640 West Fourth St, Box 5238
Winston Salem NC 27113-5238

Account No:     4768676195
Representing:                                                           Spectrum Health Hospitals
                                                                        PO Box 2127
Computer Credit                                                         Grand Rapids MI 49501-2127




Sheet No.     4 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 4,074.08
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          34870
Account No:                                                             3/2006                                                                                                                           $ 41.00
Creditor # : 19                                                         Medical Bills
Computer Health Services
233 E. Fulton Street
Suite 104
Grand Rapids MI 49503

          501-8009459-001
Account No:                                                             2/2007                                                                                                                          $ 389.92
Creditor # : 20                                                         Credit Card Purchases
Dell Financial Services
Payment Processing Center
PO Box 5292
Carol Stream IL 60197-5292

          000476867
Account No:                                                             1/2002                                                                                                                           $ 81.00
Creditor # : 21                                                         Medical Bills
ECS Butterworth
PO Box 3536
Grand Rapids MI 49501


Account No:     000476867
Representing:                                                           CBCS
                                                                        PO Box 1615
ECS Butterworth                                                         Grand Rapids MI 49501-1615



Account No: 000476867                                                   4/2002                                                                                                                          $ 465.00
Creditor # : 22                                                         Medical Bills
ECS Butterworth
PO Box 3536
Grand Rapids MI 49501-3536


Account No:     000476867
Representing:                                                           CBCS
                                                                        PO Box 1615
ECS Butterworth                                                         Grand Rapids MI 49501-1615




Sheet No.     5 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                         $ 976.92
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          000476867
Account No:                                                             8/2002                                                                                                                          $ 135.00
Creditor # : 23                                                         Medical Bills
ECS Butterworth
PO Box 3536
Grand Rapids MI 49501


Account No:     000476867
Representing:                                                           CBCS
                                                                        PO Box 1615
ECS Butterworth                                                         Grand Rapids MI 49501-1615



Account No: BW1 S.D4768676042                                           2/2006                                                                                                                          $ 168.00
Creditor # : 24                                                         Medical Bills
Emergency Care Specialists
PO Box 3536
Grand Rapids MI 49501


          248403
Account No:                                                             2/2001                                                                                                                          $ 151.79
Creditor # : 25                                                         Business Supplies
Greatland Corporation
PO Box 7481
Grand Rapids MI 49510


          14751
Account No:                                                             4/2006                                                                                                                       $ 1,735.00
Creditor # : 26                                                         Medical Bills
Hospitals of West Michigan
PO Box 1682
Grand Rapids MI 49501-1682


Account No:     14751
Representing:                                                           Pater Law PC
                                                                        714 Michigan Avenue
Hospitals of West Michigan                                              Suite B
                                                                        Holland MI 49423-4999




Sheet No.     6 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 2,189.79
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                         - Cont. WestRochester,
                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          Z63021470001
Account No:                                                             5/2004                                                                                                                           $ 79.50
Creditor # : 27                                                         Software
Intuit
PO Box 513340
Los Angeles CA 90051-3340


Account No:                                                             4/2006                                                                                                                       $ 1,253.00
Creditor # : 28                                                         Medical Bills (Advanced Radiology
James R Stokes
The Steeple View Building
429 Turner, NW
Grand Rapids MI 49504

          0508380CK Kolenda
Account No:                                                             6/2006                                                                                                                     $ 182,425.56
Creditor # : 29                                                         Medical Bills
Joel S. Whetstone PC
146 Monroe NW
Suite 1221
Grand Rapids MI 49503-2821

Account No:     0508380CK Kolenda
Representing:                                                           Money Recovery Nationwide
                                                                        801 S. Waverly Road
Joel S. Whetstone PC                                                    Suite 100
                                                                        Lansing MI 48917


Account No:     0508380CK Kolenda
Representing:                                                           Spectrum Health Hospital
                                                                        100 Michigan Street NE
Joel S. Whetstone PC                                                    Grand Rapids MI 49503



Account No: 000015148                                                   1/2007                                                                                                                           $ 30.00
Creditor # : 30                                                         Medical Bills
John N. Cambell
2002 44th Street SE
Kentwood MI 49508




Sheet No.     7 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                   $ 183,788.06
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     000015148
Representing:                                                           CBCS
                                                                        PO Box 165025
John N. Cambell                                                         Columbus OH 43216-5025



Account No: 27890810                                                    1/2007                                                                                                                       $ 4,635.37
Creditor # : 31                                                         Loan
LSI Financial
641 44th Street
Grand Rapids MI 49548


Account No:                                                             3/2002                                                                                                                           $ 85.00
Creditor # : 32                                                         Medical Bills
Mark OBrien MD PC
Suite 201
4070 Lake Drive SE
Grand Rapids MI 49546

          21-060181301
Account No:                                                             11/2004                                                                                                                         $ 707.50
Creditor # : 33                                                         Medical Bills
Peter A. Paplawsky, DDS
810 Alger SE
Grand Rapids MI 49507-3803


Account No:     21-060181301
Representing:                                                           CBCS
                                                                        PO Box 1615
Peter A. Paplawsky, DDS                                                 Grand Rapids MI 49501-1615



Account No: 0061706812-6                                                9/2001                                                                                                                          $ 177.85
Creditor # : 34                                                         Utility Bills
Sprint
PO Box 740219
Cincinnati OH 45274-0219




Sheet No.     8 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 5,605.72
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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Official Form 6F (10/06) West
                         - Cont. WestRochester,
                              Group,  Group, Rochester,
                                                NY      NY


In re Melvin Ray McGill                                                                                           ,                                   Case No. 07-02752
                                        Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                 including Zip Code,




                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          560-05143893
Account No:                                                             9/1999                                                                                                                           $ 65.00
Creditor # : 35                                                         Medical Bills
Stanley M. Mesirow MD PC
777 D Riverview Drive
Suite 219
Benton Harbor MI 49022

          435012243
Account No:                                                             10/2006                                                                                                                         $ 543.81
Creditor # : 36
T-Mobile Financial
PO Box 2400
Young America MN 55553-2400


          MCGMEL0001
Account No:                                                             2/2006                                                                                                                           $ 73.00
Creditor # : 37                                                         Medical Bills
Towers Surgeons PC
3230 Eagle ParkDrive NE
Suite 210
Grand Rapids MI 49525

          3109301
Account No:                                                             2/2004                                                                                                                       $ 1,520.00
Creditor # : 38                                                         Advertising
WJNZ Radio
1919 Eastern Avenue, SE
Grand Rapids MI 49507


Account No:     3109301
Representing:                                                           Muller, Muller,Richmond, Harms
                                                                        161 Ottawa Avenue, NW
WJNZ Radio                                                              Suite 205-E Waters Building
                                                                        Grand Rapids MI 49503-2782


Account No:




Sheet No.     9 of        9 continuation sheets attached to Schedule of                                                                              Subtotal $                                      $ 2,201.81
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                 $ 214,279.96
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                               Case:07-02752-jrh
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In re Melvin Ray McGill                                                                                     / Debtor            Case No. 07-02752
                                                                                                                                                                   (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating
"minor child" and do not disclose the child's name. See 11 U.S.C 112 Fed.R.Bankr.P. 1007(m).




   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                       Description of Contract or Lease and
                including Zip Code, of                                                             Nature of Debtor's Interest.
                other Parties to Lease                                                 State whether Lease is for Nonresidential Real Property.
                     or Contract                                                        State Contract Number of any Government Contract.

Tim Aalsburg                                                  Contract Type: Business Lease
215 State Street SE                                           Terms: $275.00 per month beginning 8/2/02
Grand Rapids MI 49503                                         Beginning date:1/1/2007
                                                              Debtor's Interest: Lessee
                                                              Description: Office Space
                                                              Buyout Option:NONE




                                                                                                                                                     Page     1 of          1
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In re Melvin Ray McGill                                                                           / Debtor          Case No. 07-02752
                                                                                                                                                 (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California Idaho, Louisiana, Nevada, New Mexico, Puerto Rico Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory.In community property states, a married debtor not filing a joint case should
report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating "a minor child" and do not
disclose the childs name. See 11 U.S.C 112 ; Fed.Bankr.P. 1007(m).
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                  Name and Address of Creditor




                                                                                                                                       Page     1 of      1
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In re Melvin Ray McGill                                                                                   ,                    Case No. 07-02752
                                                Debtor(s)                                                                                                 (if known)


                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                        RELATIONSHIP(S):                                                                                AGE(S):
      Single                       Daughter                                                                                        24
                                   Son                                                                                             15
                                   Son                                                                                             13
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation
  Name of Employer
  How Long Employed
  Address of Employer
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                           $                            0.00 $                             0.00
  2. Estimate Monthly Overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union Dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                           0.00       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                       4,046.58       $                        0.00
  8. Income from Real Property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                        0.00
  of dependents listed above.
  11. Social Security or government assistance
    Specify:                                                                                               $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    Specify:                                                                                               $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    4,046.58 $                              0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                    4,046.58 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  4,046.58
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




                                                                                                                                                      Page No.       1 of         1
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In re Melvin Ray McGill                                                                                       ,                           Case No. 07-02752
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments made
bi-weekly, quarterly, semi-annually, or annually to show monthly rate.


   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)       .....................................................................................................................
                                                                                                                                                         $                     300.00
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel  ..................................................................................................................................................
                                                                                                                                                          $                        0.00
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    150.00
                d. Other      Cable                                                                                                                       $                    100.00
                   Other      Internet
                             ...................................................................................................................................................................
                                                                                                                                                          $                      75.00
                   Other                                                                                                                                  $                        0.00
 3. Home maintenance (repairs and upkeep)          ..............................................................................................................................................
                                                                                                                                                          $                         0.00
 4. Food                                                                                                                                                  $                     350.00
 5. Clothing    .................................................................................................................................................................................
                                                                                                                                                        $                      75.00
 6. Laundry and dry cleaning                                                                                                                              $                      25.00
 7. Medical and dental expenses          ........................................................................................................................................................
                                                                                                                                                          $                     450.00
 8. Transportation (not including car payments)                                                                                                           $                     150.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.         ..................................................................................................................
                                                                                                                                                         $                       50.00
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's     ....................................................................................................................................................
                                                                                                                                                          $                         0.00
              b. Life                                                                                                                                     $                        0.00
              c. Health    ......................................................................................................................................................................
                                                                                                                                                         $                         0.00
              d. Auto                                                                                                                                     $                        0.00
              e. Other    ........................................................................................................................................................................
                                                                                                                                                          $                         0.00
                 Other                                                                                                                                    $                        0.00
                 Other    ........................................................................................................................................................................
                                                                                                                                                          $                         0.00
  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto        ........................................................................................................................................................................
                                                                                                                                                          $                         0.00
           b. Other:                                                                                                                                      $                        0.00
           c. Other:      ........................................................................................................................................................................
                                                                                                                                                          $                         0.00
           d. Other:                                                                                                                                      $                  0.00
 14. Alimony, maintenance, and support paid to others ..................................................................................................................................
                                                                                                                                                    $                     100.00
 15. Payments for support of additional dependents not living at your home                                                                          $                     200.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)   ....................................................................................
                                                                                                                                                    $                 2,013.65
 17. Other: Personal Grooming                                                                                                                       $                     100.00
     Other: ................................................................................................................................................................................
                                                                                                                                                    $                        0.00
     Other:                                                                                                                                         $                        0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 4,138.65
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 4,046.58
     b. Average monthly expenses from Line 18 above                                                                                                       $                 4,138.65
     c. Monthly net income (a. minus b.)                                                                                                                  $                  (92.07)
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                                               UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF MICHIGAN
                                                       SOUTHERN DIVISION
   In re Melvin Ray McGill                                                                                                           Case No. 07-02752
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E and F to determine the total
amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter 7, 11, or
13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $                      0.00

 B-Personal Property
                                                Yes                 4           $               8,070.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $                      0.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 2                                              $              24,000.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                10                                              $           214,279.96

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $              4,046.58

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $              4,138.65

                                  TOTAL                           23             $               8,070.00           $           238,279.96
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                                               UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION
   In re Melvin Ray McGill                                                                                                       Case No. 07-02752
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.
 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether disputed or
   undisputed)                                                                                                    $       24,000.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                             $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       24,000.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
                                                                                                                  $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       48,000.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   4,046.58
   Average Expenses (from Schedule J, Line 18)                                                                        $   4,138.65
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   1,887.15
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   24,000.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   214,279.96
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   214,279.96
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In re Melvin Ray McGill                                                                                            Case No. 07-02752
                                                    Debtor                                                                                              (if known)




                               DECLARATION CONCERNING DEBTOR'S SCHEDULES

                              DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of   24   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:   5/16/2007                                      Signature   /s/ Melvin Ray McGill
                                                                        Melvin Ray McGill
                                 Case:07-02752-jrh
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                                               UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF MICHIGAN
                                                       SOUTHERN DIVISION

In re Melvin Ray McGill                                                                                                     Case No. 07-02752
                                                                                                                            Chapter 7



                                                                                                             / Debtor




                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

        I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                 Property will be Property is   Property will be   Debt will be
                                                                                                                 Surrendered      claimed as    redeemed           reaffirmed
Description of Secured Property                              Creditor's Name                                                      exempt        pursuant to        pursuant to
                                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)


            None




                                                                                            Lease will be
                                                                                            assumed
 Description of Leased Property                              Lessor's Name                  pursuant
                                                                                            to 11 U.S.C.
                                                                                            § 362(h)(1)(A)




                                                                       Signature of Debtor(s)



Date:     5/16/2007                                          Debtor:   /s/ Melvin Ray McGill


Date:                                                        Joint Debtor:




                                                                                                                                                          Page       1 of         1
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or five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
         3. After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time
from future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the
Office of the United States Trustee, the Office of the United States Attorney, and other components and employees of the
Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                                                         Certificate of Attorney
            I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code

________________________________________                                    ___________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer              Date

Address:
________________________________________

X_______________________________________
Signature of Attorney

                                                          Certificate of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read this notice.

_________________________________________                                   X___________________________________
Printed Name(s) of Debtor(s)                                                Signature of Debtor         Date

Case No. (if known) ____________________                                    X___________________________________
                                                                            Signature of Joint Debtor (if any) Date
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
In re Melvin Ray McGill                                                                   Case No. 07-02752
      dba Gilmacs Accounting Payroll Taxes                                                Chapter 7



                                                                                         / Debtor

                                        ASSET PROTECTION REPORT

             By local rule of this Court, debtors filing Chapter 7 petitions and debtors in cases converting to
      Chapter 7 must file an Asset Protection Report giving information about the status of insurance coverage
      on assets in the estate. The back of this page shall be completed with the following information: (1)
      description of the asset and location; (2) the debtor's insurance agent for the asset, or if none, the
      insurance underwriter; (3) the policy limit of the policy with respect to the asset; (4) the expiration date
      of the policy and (5) if the asset is secured, the name of the secured party and whether the debtor insures
      the interest of that party. If the debtor has sufficient insurance coverages to protect any exemptible
      interest in real or personal property or does not wish the trustee to use estate funds to procure such
      coverages, the debtor(s) may sign the waiver below.


            Debtors are requested to provide the trustee with copies of all insurance policies and/or
      declarations representing each insurable asset within fifteen days of the filing of the petition.




                                        REQUEST TO TRUSTEE
                                  NOT TO INSURE EXEMPTIBLE ASSETS


             I, a debtor who has signed below, state that I intend to provide insurance protection for any
      exemptible interests in real or personal property in this estate, and I request that the trustee not expend
      estate funds to procure insurance coverage for my exemptible assets.




      Date:      5/16/2007                                  /s/ Melvin Ray McGill
                                                            Debtor

      Date:      5/16/2007
                                                            Co-Debtor
                                      Case:07-02752-jrh      Doc #:10-2 Filed: 05/17/2007        Page 55 of 56
TYPE OF ASSET                DESCRIPTION                          NAME AND                                POLICY                          SECURED
                                AND                              ADDRESS OF                              LIMIT AND                        PARTIES:
                              LOCATION                           INSURANCE                              EXPIRATION                         DO YOU
                                                                  AGENT OR                                 DATE                            INSURE
                                                                UNDERWRITER                                                                 THEIR
                                                                                                                                        INTERESTS?

REAL PROPERTY:       [INCLUDE ANY PROPERTY IN WHICH THE DEBTOR HAS AN INTEREST, INCLUDING LEASED PROPERTY IF THE LEASE REQUIRES THE DEBTOR
                     TO MAINTAIN INSURANCE COVERAGES]




PERSONAL PROPERTY:

1. Household Goods:



2. Motor Vehicles:



3. Boats, Motors, Snowmobiles, etc.:



4. Livestock:



5. Equipment and Fixtures:



6. Inventory:



7. Miscellaneous Other Property:



   Date:    5/16/2007                                                     Debtor: /s/ Melvin Ray McGill
   Date:    5/16/2007                                                  Co-Debtor:
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                                                      UNITED STATES BANKRUPTCY COURT
                                                    FOR THE WESTERN DISTRICT OF MICHIGAN
                                                              SOUTHERN DIVISION
In re   Melvin Ray McGill                                                                                                  Case No.     07-02752
                                                                                                                           Chapter      7
                                                                                                                           Hon.

                                                                                                                   / Debtor


                                                          STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                 PURSUANT TO F.R.BANKR.P.2016(b)

        The undersigned, pursuant to F.R.Bankr.P.2016(b), states that:

        The undersigned is the attorney for the Debtor(s) in this case.

        The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]

        [X]           FLAT FEE

        A.            For legal services rendered in contemplation of and in connection with this case, exclusive
                      of the filing fee paid                                                                         701.00

        B.            Prior to filing this statement, received                                                        351.00

        C.            The unpaid balance due and payable is                                                           350.00

        [ ]           RETAINER

        A.            Amount of retainer received

        B.            The undersigned shall bill against the retainer at an hourly rate of                            . [Or attach firm hourly rate schedule.] Debtor(s)
                      have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

        $                  299.00    of the filing fee has been paid.


        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any that do
        not apply.]

        A.            Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        B.            Preperation and filing of any petition, schedules, statement of affairs and plan which may be required;
        C.            Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        D.            Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        E.            Reaffirmations;
        F.            Redemptions;
        G.            Other:


        By agreement with the debtor(s), the above disclosed fee does not include the following services:



        The source of the payments to the undersigned was from:

        A.             X       Debtor(s)' earnings, wages, compensation for services performed
        B.                     Other (describe, including the identify of payor)


        The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or corporation,
        any compensation paid or to paid except as follows:




        Dated:   05/16/2007                                                                         /s/ David M. Trentadue
                                                                                                    Attorney for the Debtor(s)

                 /s/ Melvin Ray McGill
        Agreed: _________________________________________
                 Debtor                                                                             Debtor
